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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


 IN RE: CHINESE-MANUFACTURED                        MDL NO. 2047
 DRYWALL PRODUCTS LIABILITY                         SECTION: L
 LITIGATION                                         JUDGE FALLON
                                                    MAG. JUDGE WILKINSON
 THIS DOCUMENT RELATES TO:

 Nos. 17-8288; 17-8284; 17-8286


                   SUGGESTION OF REMAND, OPINION AND ORDER


   I. BACKGROUND


       From 2004 through 2006, the housing boom in Florida and rebuilding efforts necessitated

by Hurricanes Rita and Katrina led to a shortage of construction materials, including drywall. As

a result, drywall manufactured in China was brought into the United States and used to construct

and refurbish homes in coastal areas of the country, notably the Gulf Coast and East Coast.

Sometime after the installation of the Chinese drywall, homeowners began to complain of

emissions of foul-smelling gas, the corrosion and blackening of metal wiring, surfaces, and

objects, and the breaking down of appliances and electrical devices in their homes. See In re

Chinese-Manufactured Drywall Prods. Liab. Litig., 894 F. Supp. 2d 819, 829–30 (E.D. La.

2012), aff’d, 742 F.3d 576 (5th Cir. 2014).

       In an attempt to recoup their damages, these homeowners began to file suit in various

state and federal courts against homebuilders, developers, installers, realtors, brokers, suppliers,

importers, exporters, distributors, and manufacturers who were involved with the Chinese

drywall. Because of the commonality of facts in the various cases, this litigation was designated
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as a multidistrict litigation in accordance with 28 U.S.C § 1407. Pursuant to a Transfer Order

from the United States Judicial Panel on Multidistrict Litigation on June 15, 2009, all federal

cases involving Chinese drywall were transferred and consolidated for pretrial proceedings in

MDL 09-2047 before this Court.

       The Chinese drywall at issue was largely manufactured by two groups of defendants: (1)

the Knauf Entities and (2) the Taishan Entities. The litigation has focused upon these two

entities and their downstream associates and has proceeded on strikingly different tracks for the

claims against each group.


   II. PROCEDURAL HISTORY

       A. The Knauf Defendants

       The Knauf Entities are German-based, international manufacturers of building products,

including drywall, whose Chinese subsidiary, Knauf Plasterboard (Tianjin) Co., Ltd. (“KPT”),

advertised and sold its Chinese drywall in the United States. The Knauf Entities are named

defendants in numerous cases consolidated with the MDL litigation and litigation in state courts.

       The Knauf Entities first entered their appearance in the MDL litigation on July 2, 2009

and discovery quickly ensued. Thereafter, the Court presided over a bellwether trial in

Hernandez v. Knauf Gips KG, Case No. 09-6050, involving a homeowner’s claims against KPT

for defective drywall. The Court found in favor of the plaintiff family in Hernandez, issued a

detailed Findings of Fact and Conclusions of Law, and entered a Judgment in the amount of

$164,049.64, including remediation damages in the amount of $136,940.46—which represented

a remediation cost of $81.13 per square foot based on the footprint square footage of the house.

       Subsequently, the Knauf Entities agreed to institute a pilot remediation program utilizing

the remediation protocol formulated by the Court from the evidence in Hernandez. The pilot
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program included about fifty homes. At the Court’s urging, the parties began working together

to monetize this program and make it available to a broader class of plaintiffs.

       On December 20, 2011, the Knauf Entities and the PSC entered into a global, class

Settlement Agreement (“Knauf Settlement Agreement”), which was designed to resolve all

Knauf-related, Chinese drywall claims. Under the terms of the Knauf Settlement, homeowners

had the choice of a sum certain or having the house totally remediated in addition to receiving

reasonable costs and attorney fees. Furthermore, after a jury trial in a bellwether case, numerous

defendants in the chain-of-commerce with the Knauf Entities entered into class settlement

agreements, the effect of which settles almost all of the Knauf Entities’ chain-of-commerce

litigation. The total amount of the Knauf Settlement is estimated at $1.1 billion.

       Although the Court occasionally has to deal with settlement administration and

enforcement issues, the Knauf portion of this litigation is now resolved.

       B.      The Chinese Defendants

       The litigation against the Chinese entities has taken a different course. The Chinese

Defendants in the litigation include the principal Chinese-based Defendant, Taishan, namely,

Taishan Gypsum Co. Ltd. (“TG”) and its wholly-owned subsidiary, Taian Taishan Plasterboard

Co., Ltd. (“TTP”) (collectively “Taishan” or “Taishan Entities”).            Other Chinese-based

Defendants include the CNBM and BNBM Entities.

       The Court’s initial inquiry regarding Taishan involved four cases in this MDL: (1)

Germano v. Taishan Gypsum Co. (Case No. 09-6687); (2) The Mitchell Co. v. Knauf Gips KG

(Case No. 09-4115); (3) Gross v. Knauf Gips KG (Case No. 09-6690); and (4) Wiltz v. Beijing

New Building Materials Public Ltd. (Case No. 10-361).
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       The first issues involving Taishan arose when Taishan failed to timely answer or

otherwise enter an appearance in Mitchell and Germano, despite the fact that it had been properly

served in each case. Thus, after an extended period of time, the Court entered preliminary

defaults against Taishan in both of these cases.

       Thereafter, the Court moved forward with an evidentiary hearing in furtherance of the

preliminary default in Germano on the Plaintiffs’ claimed damages.           At this hearing, the

Plaintiffs presented evidence specific to seven individual properties, which served as bellwether

cases. Following this hearing on February 19 and 20, 2010, the Court issued detailed Findings of

Fact and Conclusions of Law. On May 10, 2010, the Court issued a Default Judgment against

Taishan in Germano and in favor of the Plaintiffs in the amount of $2,609,129.99. R. Doc. 2380,

3013. On June 10, 2010, the last day to timely appeal, Taishan filed a Notice of Appeal of the

Default Judgment in Germano and entered its appearance in Germano and Mitchell. Taishan

challenged this Court’s jurisdiction over the Defendants. As a result, because this was the first

instance where Defendants raised jurisdictional issues, the Fifth Circuit remanded the case to this

Court to determine whether the Court indeed has jurisdiction over Taishan.

       After Taishan entered its appearance in the MDL, it quickly sought to have the Default

Judgment in Germano and the Preliminary Default in Mitchell vacated for lack of personal

jurisdiction. In the fall of 2010, the Court directed the parties to commence the personal

jurisdiction discovery necessary to resolve Taishan’s motions to vacate. Sometime after the

initial discovery, the parties agreed to expand the discovery beyond the Germano and Mitchell

cases to other cases in which Taishan had been served, including Gross and Wiltz.

       Formal personal jurisdiction discovery of Taishan began in October 2010. Discovery

included the production of both written and electronic documents, as well as depositions of
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Taishan’s corporate representatives, with each type of discovery proceeding in a parallel fashion.

This discovery has often been contentious, requiring close supervision by the Court. The Court

has presided over regularly-scheduled status conferences to keep the parties on track and

conducted hearings and issued rulings to resolve numerous discovery-related disputes.

       The first Taishan depositions were held in Hong Kong on April 4-8, 2011. Thirteen

attorneys traveled to Hong Kong and deposed several Taishan witnesses. However, upon return

to the United States, several motions were filed seeking to schedule a second round of Taishan

depositions as a result of problems during the depositions and seeking discovery sanctions

against Taishan. The Court, after reviewing the transcripts from the depositions, concluded that

the depositions were ineffective because of disagreement among interpreters, counsel and

witnesses, translation difficulties, speaking objections, colloquy among counsel and interpreters,

and in general, ensuing chaos.

       In view of the foregoing, the Court scheduled the second round of Taishan depositions

for the week of January 9, 2012 in Hong Kong. Due to the problems experienced during the first

depositions, the Court appointed a Federal Rule of Evidence 706 expert to operate as the sole

interpreter at the depositions, and the Court decided to travel to Hong Kong to preside over the

depositions. Counsel for the interested parties and the Court traveled to Hong Kong for these

depositions. Because the Court was present at the depositions, objections were ruled upon

immediately and the majority of problems that plagued the first round of depositions were

absent. Also, the Court was able to observe the comments, intonation, and body language of the

deponents. Upon return from Hong Kong, the parties informed the Court that minimal further

discovery was necessary before briefing could be submitted on Taishan’s personal jurisdiction

challenges.
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        In April 2012, Taishan filed various motions, including its motions to dismiss for lack of

personal jurisdiction. On June 29, 2012, over three years since the creation of this MDL, and

after a year-and-a-half of personal jurisdiction discovery on Taishan, the Court presided over a

hearing on Taishan’s motions. The Court coordinated its hearing with the Honorable Joseph

Farina of the Florida state court, who had a similar motion involving Taishan’s challenge to

personal jurisdiction.

        On September 4, 2012, this Court issued a 142-page Order regarding Taishan’s motions

in Germano, Mitchell, Gross, and Wiltz, in which the Court denied the motions to dismiss and

held that it maintained personal jurisdiction over Taishan. In re Chinese-Manufactured Drywall

Prods. Liab. Litig., 894 F. Supp. 2d 819 (E.D. La. 2012). The Court also ruled that Taishan was

operating as the alter ego of TG and TPP. The Court certified an interlocutory appeal, and the

Fifth Circuit granted permission to appeal.

        In January and May of 2014, two different panels of the Fifth Circuit affirmed this

Court’s ruling and held that this Court maintained personal jurisdiction over Taishan, TG and

TPP. In re Chinese-Manufactured Drywall Prods. Liab. Litig., 753 F.3d 521 (5th Cir. 2014); In

re Chinese-Manufactured Drywall Prods. Liab. Litig., 742 F.3d 576 (5th Cir. 2014). The time

for writ of certiorari passed, and the issue of personal jurisdiction over Taishan became firmly

and finally settled. Nevertheless, Taishan refused to pay the Germano judgment or voluntarily

participate in this litigation.

        On June 20, 2014, the Court ordered Taishan to appear in open court on July 17, 2014 to

be examined as a judgment debtor. Taishan failed to appear for the July 17, 2014 Judgment

Debtor Examination, and the Court held Taishan in contempt and ordered that Taishan pay

$15,000.00 in attorney’s fees to Plaintiffs’ counsel; that Taishan pay $40,000.00 as a penalty for
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contempt; that Taishan and any of its affiliates or subsidiaries be enjoined from conducting any

business in the United States until or unless it participated in this judicial process; and that if

Taishan violated the injunction, it would be obligated to pay a further penalty of 25-percent of

the profits earned by the Company or its affiliate who violate the Order for the year of the

violation.

        On July 23, 2014, Plaintiffs filed their Omnibus Motion for Class Certification pursuant

to Rule 23(b)(3). Taishan did not appear and, on September 26, 2014, this Court certified a class

of all owners of real properties in the United States, who are named Plaintiffs on the complaints

in Amorin, Germano, Gross, and/or Wiltz (i.e., not an absent class member), asserting claims for

remediated damages arising from, or otherwise related to Chinese Drywall manufactured, sold,

distributed, supplied, marketed, inspected, imported or delivered by the Taishan Defendants.

        Taishan finally entered an appearance with the Court in February 2015, and, to satisfy the

contempt, Taishan paid the judgment and both the sum of $15,000.00 in attorney’s fees to

Plaintiffs’ counsel and the contempt penalty of $40,000.00 in March 2015. On March 17, 2015,

the Court ordered Taishan and the BNBM and CNBM Entities to participate in expedited

discovery related to “the relationship between Taishan and BNBM/CNBM, including whether

affiliate and/or alter ego status exists.”

        In March 2016, this Court granted CNBM Group’s motion to dismiss, finding it was an

“agent or instrumentality of a foreign state” within the meaning of the Foreign Sovereign

Immunities Act (“FSIA”), and therefore outside the jurisdiction of this Court under 28 U.S.C. §

1603(b). The Court determined that the tortious activity exception did not apply because the

alleged tortious conduct did not occur within the United States under 28 U.S.C. § 1605(a)(5).

Further, the Court found that the commercial activity exception did not apply in this case, as
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CNBM Group did not directly manufacture, inspect, sell, or market drywall in the United States.

Because Plaintiffs failed to present evidence sufficient to overcome the presumption that CNBM

Group was entitled to independent status for purposes of the FSIA, the Court granted the motion

and dismissed CNBM Group from the present litigation.

       On April 21, 2017, the Court issued a 100-page opinion related to jurisdictional

challenges being raised in four separate motions filed by Defendants. The Court found that

Taishan was an agent of BNBM under Florida and Virginia law, such that Taishan’s contacts in

Florida and Virginia are imputed to BNBM. This Court further found that CNBM, BNBM

Group, and BNBM were part of a single business enterprise with Taishan under Louisiana law,

such that Taishan’s contacts in Louisiana may be imputed to Defendants, and the Court has

jurisdiction over Defendants in relation to Plaintiffs’ claims based on Louisiana law.

       Also on April 21, 2017, the Court issued its Findings of Fact and Conclusions of Law

related to the June 9, 2015 damages hearing, and adopted Plaintiffs’ damage calculations

methodology related to remediation of properties.

       On May 22, 2017, Defendants filed a motion pursuant to 28 U.S.C. § 1292(b) to certify

interlocutory appeal from this Court’s jurisdiction order. Because the Court found that its Order

and Reasons involved a controlling question of law as to which there is substantial ground for

difference of opinion, and because the Court further found that an interlocutory appeal from that

Order and Reasons could materially advance the ultimate termination of this MDL, on August 4,

2017, the Court certified an interlocutory appeal to the Fifth Circuit pursuant to 28 U.S.C. §

1292(b).

       On August 1, 2017, Defendants filed a motion to dismiss for lack of personal jurisdiction

following the recent U.S. Supreme Court case of Bristol–Myers Squibb v. Superior Court of
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California.   Based on Bristol–Myers Squibb, Defendants contested this Court’s findings of

personal jurisdiction, class certification, and agency relationship.         On August 14, 2017,

Defendants filed a petition for permission to appeal pursuant to 28 U.S.C. § 1292(b) in the Fifth

Circuit, in which they argued that the Bristol–Myers Squibb opinion impacts questions raised on

appeal. On August 24, 2017, this Court vacated its 28 U.S.C. § 1292(b) certification order to

avoid piecemeal litigations. The Court noted its duty to address the effect of Bristol–Myers

Squibb on the jurisdictional issue before certifying the matter to the Fifth Circuit. Subsequently,

on November 30, 2017, the Court denied Defendants’ motion to dismiss, holding that Bristol–

Myers Squibb does not change this Court’s jurisdictional findings and class certification.

       On January 2, 2018, the Court denied Defendants CNBM Company, BNBM Group, and

BNBM PLC’s motion to vacate the default judgments against them. On March 5, 2018, the Court

reinstated its order to certify interlocutory appeal of its April 2017 jurisdiction opinion arising

from the Chinese Defendants’ agency relationship. The Court, nevertheless, denied Defendants’

request to certify the interlocutory appeal of its opinion involving Bristol–Myers Squibb’s impact

(or lack thereof) on the Court’s personal jurisdiction analysis. The Court noted that the Supreme

Court’s opinion in Bristol–Myers Squibb did not address class actions and therefore was

inapplicable to this MDL. Additionally, two separate panels on the Fifth Circuit had already

reaffirmed the Court’s original personal jurisdiction analysis in 2014. Any further litigation on

the issue of personal jurisdiction for the Chinese Defendants would cause needless delay and

waste judicial resources. BNBM and CNBM petitioned the Fifth Circuit for permission to appeal

this Court’s jurisdictional order, and the jurisdictional appeal is currently pending.

       In 2018, the Court suggested to the Judicial Panel on Multidistrict Litigation that the

Florida and Virginia Amorin actions be remanded to the transferor courts. R. Docs. 21242,
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21695. In 2019, the Court issued a suggestion of remand with respect to the Florida and Virginia

Brooke actions as well. R. Doc. 22138, 22139.

        A significant development in the Taishan aspect of this litigation occurred in the spring of

2019. On May 22 and 23, 2019, the parties underwent mediation with the goal of resolving the

entirety of the Amorin and Brooke matters pending in the Eastern District of Louisiana, the

Southern District of Florida, and the Eastern District of Virginia. On May 23, 2019, the parties

agreed to a Term Sheet, and negotiations continued in person and by telephone for three months.

All matters in the Amorin and Brooke actions were accordingly stayed by the remand courts and

this Court, pending the execution of a Settlement Agreement between the parties. The stay was

extended several times and preliminary approval of the Settlement Agreement was granted by

the Court on August 29, 2019. R. Doc. 22314.

        The Taishan Settlement Agreement was granted final approval on January 10, 2020. R.

Doc. 22460. Under the terms of the Settlement Agreement, the Taishan Defendants agreed to pay

$248,000,000 to fully resolve all claims of the Amorin class, the plaintiffs named in the Brooke

complaints, and any other property owners with Chinese drywall attributable to Taishan

(“Absent Class Members”). The Settlement specifically excludes 498 Florida Amorin Plaintiffs

who received a separate settlement from Taishan (the “Parker Waichman Settlement”), the

plaintiffs involved in the Mitchell action, 1 and plaintiffs whose claims were previously

voluntarily dismissed or dismissed for failure to complete a Supplemental Plaintiff Profile Form.

R. Doc. 22305-2 at 5. All class members were provided with notice of the Settlement and


        1
            On July 8, 2019, the Court denied Mitchell’s motion seeking certification of a homebuilder class. R. Doc.
22287. On August 22, 2019, the Court suggested that the Mitchell matter be remanded to state court in Florida. The
Court noted that remand was appropriate because the purpose behind consolidating these related actions in this
Court had been served. The Court had addressed numerous discovery disputes, dispositive motions, and other
pretrial issues involving facts and legal questions common to the various cases in this MDL proceeding. No further
pretrial motions raising common questions were pending in these cases, and remand to the transferor court appeared
to be in the interest of judicial efficiency and fairness to the parties.
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informed of their right to opt-out from its terms and proceed independently against Taishan. The

opt-out and objection period closed on November 27, 2019. The objections were collected by

Settlement Class Counsel and submitted to the Court for consideration at the Final Fairness

Hearing on December 11, 2019. Settlement Class Counsel received ninety-two opt-out requests,

although not all were compliant with the Settlement Agreement’s opt-out procedure. Of the

compliant requests, seventy-eight were from known Class Members, 2 and twelve were from

Absent Class Members.


   III.          SUGGESTIONS OF REMAND

          The instant suggestions of remand involve claims asserted by plaintiffs who opted-out

from the Taishan Settlement. After managing this MDL for over ten years, the Court concludes

that the purposes behind consolidating these related actions in this Court have now been served.

The Court had addressed numerous discovery disputes, dispositive motions, and other pretrial

issues involving facts and legal questions common to the various cases in this MDL proceeding.

Notably, the Court has also overseen multiple historic settlements within this MDL.

          Given the extensive motions practice, bellwether trials, and settlements that have

occurred in this MDL, the Court finds it appropriate to transfer the cases back to the transferor

courts. This Court recognizes that parties may still need to conduct some discovery before trial.

Nevertheless, this discover is case-specific; thus, it can, and perhaps should, be supervised by the

transferor court. This Court has worked diligently for over a decade, and transferor courts and

parties are now equipped with abundant resources to steer these cases to a fair and just

conclusion. At this point in the litigation, centralizing these claims has minimal benefit to the




          2
              This represents about 2% of known Class Members.
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parties; local courts are well-suited to evaluate the remaining issues, including liability, property

damages, and other losses incurred by plaintiffs.

       The instant suggestion of remand relates to Lela and Melinda Allen, et al. v. Taishan

Gypsum Co., Ltd., et al., Randy Bayne, et al. v. Taishan Gypsum Co., Ltd., et al., and Kelly

Bentz, et al. v. Taishan Gypsum Co., Ltd., et al.

       The Allen action was filed in the Southern District of Mississippi on August 1, 2017 and

was docketed there as No. 17-00217. On August 31, 2017, the Judicial Panel on Multidistrict

Litigation transferred Allen to the MDL, and it was docketed here as No. 17-8288.

       Allen is an action that this Court stayed before final approval of the Class Settlement with

Taishan on January 10, 2020. Five (5) claimants in the Allen action elected to opt out of the Class

Settlement with Taishan. See Rec. Doc. 22397-3 (“List of Opt-Out Plaintiffs”); incorporated by

Judgment Pursuant to Fed. R. Civ. P. 54(b) Granting Final Approval to the Class Settlement with

Taishan, MDL Rec. Doc. 22466 at 3.

       Thus, the remaining plaintiffs pursuing claims in Allen are:

                   1.   Lott, Dolly
                   2.   Merrell, Brandi
                   3.   Patel, Sanjay and Sharoj
                   4.   Pruitt, Troyce and Rhonda
                   5.   Punch, Dwayne and Dolly

       The Bayne action was filed in the Northern District of Alabama on August 1, 2017 and

was docketed there as No. 17-01286. On August 31, 2017, the Judicial Panel on Multidistrict

Litigation transferred Bayne to the MDL, and it was docketed here as No. 17-8284.

       Bayne is an action that this Court stayed before final approval of the Class Settlement with

Taishan on January 10, 2020. Ten (10) claimants in the Bayne action elected to opt out of the

Class Settlement with Taishan. See Rec. Doc. 22397-3 (“List of Opt-Out Plaintiffs”), incorporated
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by Judgment Pursuant to Fed. R. Civ. P. 54(b) Granting Final Approval to the Class Settlement

with Taishan, MDL Rec. Doc. 22466 at 3.


       Thus, the remaining plaintiffs pursuing claims in Bayne are:
       1.      1st Franklin Financial Corp.
       2.      Anderson, John
       3.      Banks, Thomas S. and Anne S.
       4.     Bayne, Randy
       5.     Duncan, Calvin Anthony and Debra
       6.      Ellison, Bryon
       7.      Eves, Royce
       8.      Hosey, Terry
       9.      Kennedy, John
       10.     Spain, Megan L. and Gregory C.

       The Bentz action was filed in the Northern District of Georgia on August 1, 2017 and was

docketed there as No. 17-02892. On August 31, 2017, the Judicial Panel on Multidistrict

Litigation transferred Bentz to MDL 2047, and it was docketed here as No. 17-8286.

       Bentz is an action that this Court stayed before final approval of the Class Settlement with

Taishan on January 10, 2020. Six (6) claimants in the Bentz action elected to opt out of the Class

Settlement with Taishan. See Rec. Doc. 22397-3 (“List of Opt-Out Plaintiffs”), incorporated by

Judgment Pursuant to Fed. R. Civ. P. 54(b) Granting Final Approval to the Class Settlement with

Taishan, MDL Rec. Doc. 22466 at 3.

       Thus, the remaining plaintiffs pursuing claims in Bentz are:
       1.      Bentz, Kelly
       2.      Cameron, James Andrew and Leslie Glenn
       3.      Cecchi, Clifford B. and Knight, Carl D.
       4.      James, Alishia
       5.      McKoy, Tony
       6.      Mitchell, Rhonda
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   IV. CONCLUSION


       Pursuant to JPML Rule 10.1(b)(i), the Court SUGGESTS that the Allen case be remanded

to the transferor court in Mississippi for further proceedings. The remaining plaintiffs and

defendants agree to the remand. Appendix A is the Allen complaint, which was originally filed in

the Southern District of Mississippi. Appendix B is a copy of the Panel’s conditional transfer

order, which transferred said Allen case to this Court on August 31, 2017. Appendix C is a copy

of the Complaints in Intervention which intervened three of the Allen claims into the Allen

complaint.

       The Court further SUGGESTS that the Bayne case be remanded to the transferor court in

Alabama for further proceedings. The remaining plaintiffs and defendants agree to the remand.

Appendix D is the Bayne complaint, which was originally filed in the Northern District of

Alabama. Appendix E is a copy of the Panel’s conditional transfer order, which transferred said

Bayne case to this Court on August 31, 2017. Appendix F is a copy of the Complaints in

Intervention which intervened seven of the Bayne claims into the Bayne complaint.

       The Court further SUGGESTS that the Bentz case be remanded to the transferor court in

Georgia for further proceedings. The remaining plaintiffs and defendants agree to the remand.

Appendix G is the Bentz complaint, which was originally filed in the Northern District of Georgia.

Appendix H is a copy of the Panel’s conditional transfer order, which transferred said Bentz case

to this Court on August 31, 2017. Appendix J is a copy of the Complaints in Intervention

which intervened two of the Bentz claims into the Bentz complaint.

       For the foregoing reasons, the Court finds that the purposes of the MDL have been

accomplished in the Allen, Bayne, and Bentz actions and SUGGESTS that the remaining claims

be remanded to the transferor courts in Mississippi, Alabama, and Georgia, respectively.
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   IT IS SO ORDERED.

   New Orleans, Louisiana, this 31st day of March, 2020.

                                                           _____________________
                                                                Eldon E. Fallon
                                                           United States District Judge
